                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

CARLOS A. ALFORD,                           )
                                            )
                            Plaintiff,      )
                                            )       JUDGMENT IN A CIVIL CASE
v.                                          )       CASE NO. 7:23-CV-1206-D
                                            )
                                            )
                                            )
ASHLEY WHITE HARRIS,                        )
                                            )
                                            )
                            Defendant.      )




Decision by Court.


IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS plaintiff's motion
to proceed in forma pauperis [D.E. 2], ADOPTS the conclusions in the M&R [D.E. 5], and
DISMISSES WITHOUT PREJUDICE plaintiff's complaint.


This Judgment Filed and Entered on November 27, 2023, and Copies To:
Carlos A. Alford     (via CM/ECF electronic notification)




DATE: November 27, 2023                     PETER A. MOORE, JR., CLERK


                                            (By)   /s/ Stephanie Mann
                                            Deputy Clerk




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